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19                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
20
                                       SAN JOSE DIVISION
21
       REGENTS OF THE UNIVERSITY OF
22     MINNESOTA,

23                           Plaintiff,                  Case No.: 5:18-cv-00821-EJD-NMC
24
       v.                                                JOINT NOTICE OF SETTLEMENT
25
       LSI CORPORATION and AVAGO                         Hon. Edward J. Davila
26     TECHNOLOGIES U.S. INC.,
27                           Defendants.
28


     JOINT NOTICE OF SETTLEMENT                                               CASE NO. 5:18-CV-00821-EJD-NMC
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 1           PLEASE TAKE NOTICE that Plaintiff Regents of the University of Minnesota (“UMN”)

 2   and Defendants LSI Corporation and Avago Technologies U.S. Inc. (together, “LSI”) have reached a

 3   settlement in principle of all claims between them in this matter and are in the process of

 4   documenting the settlement. The Parties request that the Court retain jurisdiction for any matters

 5   related to completing and/or enforcing the settlement. The Parties anticipate filing a Stipulation of

 6   Dismissal with Prejudice within sixty (60) days of submission of this Joint Notice of Settlement.

 7
      Dated: March 18, 2025                                 Respectfully submitted,
 8

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                                                        2
     JOINT NOTICE OF DISMISSAL                                                   CASE NO. 5:18-CV-00821-EJD-NMC
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 7
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     JOINT NOTICE OF DISMISSAL                                       CASE NO. 5:18-CV-00821-EJD-NMC
        Case 5:18-cv-00821-EJD          Document 418       Filed 03/18/25     Page 4 of 4



 1                                     CERTIFICATE OF SERVICE

 2           I hereby certify that a true and correct copy of the above and foregoing document has been
 3   served on all counsel of record via the Court’s ECF system on March 18, 2025.
 4

 5
                                                         /s/ Patrick J. McElhinny
 6                                                       Patrick J. McElhinny
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     JOINT NOTICE OF DISMISSAL                                                 CASE NO. 5:18-CV-00821-EJD-NMC
